         Case 23-02997-RLM-7   Doc 10 Filed 07/31/23 EOD 07/31/23 14:56:23      Pg 1 of 1
                               SO ORDERED: July 31, 2023.




                               ______________________________
                               Robyn L. Moberly
                               United States Bankruptcy Judge

                         UNITED STATES BANKRUPTCY COURT                    SDISMISS (rev 03/2023)
                               Southern District of Indiana
                                  46 E Ohio St Rm 116
                                 Indianapolis, IN 46204
In re:

Ener1, Inc.,                                           Case No. 23−02997−RLM−7
               Debtor.

                                 ORDER DISMISSING CASE

A Deficiency Notice was issued by the Clerk of Court on July 14, 2023. The Court, after
reviewing this case, finds that the debtor failed to comply with the requirements specified
in the Notice.

IT IS ORDERED that this case is DISMISSED.

IT IS FURTHER ORDERED that the trustee is discharged from any duty as trustee in
this case.

To obtain relief from the dismissal order, a Motion for Relief from Judgment or Order,
pursuant to Fed.R.Bankr.P. 9024, must be filed. Any missing document from the time of
dismissal or a Motion for Extension of Time must be filed with the motion, or the motion
will be denied. If this case has been dismissed for failure to pay a filing fee or an
installment fee, the remaining balance of the filing fee must be paid with the filing of the
motion. Unpaid filing fees are still due and payable even though a case has been
dismissed. Cases are generally closed 30 days after dismissal.

Furthermore, if this case is closed when the Motion for Relief from Judgment or Order is
filed, a Motion to Reopen must also be filed. A reopening fee is due at the time of filing.
Currently, this fee is $260.00 but is subject to change. The latest fees can be found at
www.insb.uscourts.gov/webforms/newlaw/FeeSchedule.pdf.

The Clerk's Office will distribute this order.

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